                   IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

UNITED STATES OF AMERICA,                 )
                                          )
              v.                          )      1:18CR283-1
                                          )
DAQUAN MARQUEL GARNER                     )

                                         ORDER

       This matter is before the Court on the Motion to Withdraw as Counsel of Record filed

by Assistant Federal Public Defender Tiffany McGregor. (ECF No. 14.) The Office of the

Federal Public Defender has learned that a conflict of interest exists between the Defendant

and another Federal Public Defender client.

       Based on the representations to the Court and for good cause shown,

       IT IS HEREBY ORDERED that the motion is GRANTED, and Assistant Federal

Public Defender Tiffany McGregor and the Office of the Federal Public Defender are allowed

to withdraw as counsel of the record for the Defendant.

       IT IS FURTHER ORDERED that this matter be referred to the United States

Magistrate Judge so substitute counsel can be appointed for the Defendant.

       This, the 18th day of October, 2018.


                                          /s/ Loretta C. Biggs
                                          United States District Judge




         Case 1:18-cr-00283-LCB Document 15 Filed 10/18/18 Page 1 of 1
